Case 2:96-cv-02520-.]Pl\/l Document 830 Filed 05/18/05 Page 1 of 10 PagelD 1049

|N THE UN|TED STATES D|STR|CT COURT
FOR THE WESTERN D|STR|CT OF TENNESSEE
VVESTERN D|V|SION

 

 

DAR|US D. LlTTLE,
F’laintiff1
vs. CivilAction No. 96-2520 lVll

SHELBY COUNTY, TENNESSEE;
A.C. G|LLESS, individually and

in his official capacity as

Sheriff of Shelby County,
Tennessee; DENN|S DOVVD,
individually and in his official
capacity as Chief Jailer of

Shelby County; and JllVl ROUT,
individually and in his official
capacity as lVlayor of She|by County,

 

CONSENT ORDER AWARD|NG lNTER|M PAYMENT OF
ATTORNEYS FEES AND EXPENSES

 

lTAPPEAR|NG TO THE COURT that Plaintiffs’ counsel have submitted to the
Defendants a statement seeking $10,230.00 in attorneys fees, and $21.55 in expenses
(total $10,251.55) for work performed in the above referenced case from January 1,
2005 through April 30, 2005.

lT FURTHER APPEAR|NG TO THE COURT that by its order dated June 5,
2001, this Court found P|aintiffs’ counsel are entitled to attorneys fees and expenses for
litigating this case. Plaintiffs’ counsel are further entitled to interim payment of attorneys

fees and expenses

Thls document entered on the docket sheet in compi::a.":=:--'
/// a 5
with Rule 58 and/or 79(a) FRCP on 9 ~_

 

Case 2:96-cv-02520-.]Pl\/l Document 830 Filed 05/18/05 Page 2 of 10 PagelD 1050

lT FURTHER APPEAR|NG TO THE COURT that by this Court’s order dated
June 5, 2001, this Court held that the Prison Litigation Reform Act, 42 U.S.C. §1997(e),
(“P.L.R.A.”) is applicable to these proceedings The P.L.R.A. limits the hourly rate
awarded to Plaintiff’s counsel for attorneys fees to 150 percent of the hourly rate
established under §3006A of Title 18, for payment of court appointed counsel in indigent
criminal defense cases. By Order entered June 27, 20021 this Court acknowledged
that the appropriate rate of compensation under the P.L.R.A. is currently $135.00 per
houn

|T FURTHER APPEARING TO THE COURT that the parties consent that the
above requested fees and expenses are reasonable and owed to Plaintiffs’ counsel,
and are calculated at rates authorized by the P.L.R.A.

lT lS, THEREFORE, ORDERED, ADJUDGEDl AND DECREED by consent, that
Defendants shall promptly pay the law firm of Glankler Brownl PLLC, the total sum of
$10,251.55 for interim attorneys fees and expenses for work performed in this case

from January 1, 2005 through April 30, 2005.

|T |S SO ORDERED BY CONSENT this g day of |Vlay, 2005.

drill<@i

HON RABLE JON P. lVlCCALLA
Un` d States District Judge

 

Case 2:96-cv-02520-.]Pl\/l Document 830 Filed 05/18/05 Page 3 of 10 PagelD 1051

We consent:

TM.L w
Ro ert Hutton

 

Lead Counsel for Plaintiffs

   
  

"'_-_--.__.-_-""

 

ebra Fessenden, A sistant She|by County Attorney
Attorney for Defendants

F:\CL|ENTS\L|TTLE, DARIUS (18012)\PLEAD!NG\consentorder for fees JanuarythroughApril 2005.doc

ease 2:96-cv-02520-JPi\/i Do@ili_rngm§§§ EL-'|QM{J§(_Q_§: Page 4 Oi 10 PaQ€lD 1052

ATTORNEYS A'r LAW
oNE corvrrviERcE souARE
sE\/ENTEENTH Fl_ooR
MEMPHIS, TENNEssEE 38103
(901)525-1322
TAx i.o.No. XX-XXXXXXX

 

May 9, 2005
John Doe Statement No. 217082
Doe, John

Regarding: John Doe vs. Shelby County Jail

Our Reference No. 09132.18012
FOR LEGAL SERVICES RENDERED AND ENTERED THRU 04/30/05 310,125.00
DISBURSEMENTS THRU 04/30/05 $21.55
TOTAL THIS STATEMENT 310,146.55

REMITTANCE COPY - PLEASE ENCLOSE WITH YOUR PAYMENT.

ease 2:96-cv-02520-JPi\/i Do@i|i_rngm§§§ NM{J,§LQ_§: Page 5 Oi 10 PaQ€lD 1053

AT'roRNEYs Ar uaw
owe commence souARE
sEvENTEEN'rH i=i_ooR
MEMPHis, TENNEssEE 38103
(901)525-1322
TAx i.o.No. XX-XXXXXXX

May 9, 2005

John Doe Statement No. 217082

 

Doc, John

Regarding: John Doe vs. Shelby County Jail

DATE

Our Reference No. 09132.18012

FOR LEGAL SERVICES RENDERED AND ENTERED THRU 04/30/05 $10,125.00
DISBUR'SEMENTS THRU 04/3 0/05 $21.55
TOTAL THIS STATEMENT 310,146.55

ITEMIZED SERVICES
DESCRIPTION ATTY HOURS

 

01/03/05

01/04/05

01/]3/05

02/ 07/ 05

02/07/ 05

02/17/05

03/03/05

Prepared bill, preparation for upcoming meeting With RLH 0.50
Sherift`.

Preparation and meeting with Sheriff Luttrell, Jeff RLH 2.00
Schwarz, Debbie Fessenden concerning Jeft` Schwarz'
review of the Shelby County Jail.

Conference With Chuck Fisher concerning status with RLH 0.50
the interviews in the jail.

Meeting With Chuck Fisher concerning Shelby County RLH 0.50
Jail case, and his meeting With J eff Schwarz.

Meeting With Chuck Fisher and Robert Hutton AFG 1.50
regarding interviews With inmates, results of recent

inspections, etc.; receipt and review of correspondence

and interviews from Chuck Fisher; office discussion

With Robert Hutton regarding same.

Meeting With Chuck Fisher concerning status of jail RLH 0.50
case, and concerns about potential change of direct
supervision

Conversation With Jet`f Schwarz concerning status of RLH 1.00
the case, told Jeff he might receive a subpoena,

discussion concerning hearing of April 15, and

Sheriff‘s position with respect to Whether he is going to

discontinue direct supervision Discussed Jeff

Schwarz' reviews towards the necessity of continuing

direct supervision in order to safely supervise inmates

Case 2:96-cv-02520-.]Pl\/l Document 830 Filed 05/18/05 Page 6 of 10 PagelD 1054

DATE
03/08/05

03/09/05

03/16/05

03/31/05

04/04/ 05

04/ 04/ 05

04/05/05

04/05/05

04/05/05

04/06/05

04/06/05

04/06/ 05

04/06/ 05

04/07/05

04/08/05

DESCRIPTION

Conference with J eff Schwarz, Chuck Fisher
concerning request for proposal, reviewed request for
proposal prepared by Ms. Nobel and the Shelby County
Government, met with Sheriff and Jeff Schwarz at
Sherift‘s request concerning status of the jail.

Conference with Debbie Fessenden concerning access
to the proposals submitted for privatization of the jail,
conference with Chuck Fisher concerning request for
proposals

Conversation with Chuck Fisher, telephone call to
Brian Kuhn concerning open records act, reviewed
request for proposal, faxed letter to Deborah
Fessenden.

Preparation for deposition notice, talked with Debra
Fessenden, talked with Chuck Fisher and Debbie
Prather concerning privatization reports

Preparation and attended hearing in front of Judge
McCalla with Deborah Fessenden concerning
protective order and obtaining copies of the
privitazation plans for the Shelby County Jail.

Appeared in Federal Court on defendant's Motion for
Protective Order; meeting with Assistant County
Attorney and Robert L. Hutton and edited Order on
Defendant's Motion for Protective Order

Telephone call to Chuck Fisher; meeting with Robert
Hutton regarding review of materials; telephone call to
Debra Fessenden regtarding Protective Order

Conference call with C. Fisher, J. Schwartz and R.
Hutton regarding report

Revised protective order, meeting with Debbie Prather,
conference with Chuck Fisher.

Meeting with Chuck Fisher to review privitazation
proposals for Shelby County Jai]

Review additional notebooks regarding privatization of
jail in preparation for hearing.

Reviewed various proposals and meeting with Debbie
Prather and Chuck Fisher regarding proposals from
CCA, CSC, and GO to determine specific request for
proposals of each

Reviewed additional documentation and notebooks
concerning privatization of jail

Prepare memo for C. Fisher review regarding
comparison of proposals regarding staffing and
supervision; Scan additional documents; Additional
review of proposals for privatization of jail facilities

Review documents from Shelby County jail regarding
privatization; meeting with Adam Glankler

ATTY
RLH

RLH

RLH

RLH

RLH

AFG

DP

DP

RLH

DP

DP

AFG

AFG

DP

DP

HOURS
2.50

l.00

2.00

2.50

4.00

1.50

1.75

l.00

2.00

2.00

3.75

1.50

2.00

2.50

2.50

. _ _ _ ' 7
DATE Case 2.96 cv 02520 .]Pl\/l [?)o[g§igkelrlt)t,p€i§)?q Filed 05/18/05 Page

04/08/05

04/]1/05
04/13/05

04/13/05

04/] 4/05
04/14/05

04/ l 5/ 05

04/15/05

04/15/05

04/1 8/ 05

04/19/05

04/19/05

04/19/05

ATTY

Telephone call to Chuck Fisher; prep and scan DP
additional documents to email to Jeff Schwaltz

Conference with J eff Schwartz. RLH

Conference with Debra Fessenden concerning RLH
protective order, conference concerning upcoming

case, conference with J eff Schwartz, began reviewing

report in preparation for Fn'day's hearing

Reviewed memorandum from paralegal, Debbie AFG
Prather, to Chuck Fisher regarding privatization of

county correctional and jail facilities, and various

attachments; and office discussion with Debbie Prather

regarding same

Preparation for hearing, conference with Mary Bohan. RLH

Reviewed Dr. Jeff Schwartz's report; and meeting with AFG
Robert L. Hutton regarding preparation for hearing

Prepare for purgation hearing; attend purgation heating DP
before Judge McCalla

Prepared for and attended pergation hearing in Federal AFG
Court

Preparation for hearing in front of Judge McCalla, RLH
attended purgation hearing, cross examination of Dr.
Schwartz, began cross examination of Sheriff Luttrell.

Telephone conference with Robert L. Hutton regarding AFG
obtaining miscellaneous information from Public
Defender's Oi’fice; multiple telephone conferences with
Public Defender's Office regarding obtaining lawsuit
filed against County; obtained copies of motions to
transfer from Robert Jones' office; receipt and review
of motion for re-assignment, motion for funds for
expert assistance for resentencing analysis, amended
motions and memorandums in support for random re-
assignment and to declare Local Rule 4.01 void;
motion for funds for expert assistance for performance
impact stress analysis, motion for recusal of Judge; and
supplemental motions in preparation for pergation
hearing

Prepare for and attend continuation of purgation DP
hearing with Judge McCalla

Meeting with Robert L. Hutton regarding status of AFG
Public Defender's Motions regarding random

assignment of major violator cases, preparation of

conclusion of pergation hearing; and appeared in

F ederal Court on pergation hearing

Preparation for and attendance at hearing on jail RLH
contempt conditions, cross examination of Sheriff, and
Chuck Fisher.

TOTAL FOR SERVICES

of 10 PagelD 1055

HOURS
0.50

0.50
2.00

l.50

2.00
2.00

4.50

4.50

5.00

3.50

2.50

3.50

4.00

310,125.00

Case 2:96-cv-02520-.]Pl\/l Document 830 Filed 05/18/05 Page 8 of 10 PagelD 1056
ITEMIZED DISBURSEMENTS

 

DATE DES CRIPTION AMOUNT
Long Distance $11.55
Photocopies 310.00

TOTAL DISBURSEMENTS $21.55

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 830 in
case 2:96-CV-02520 was distributed by faX, mail, or direct printing on
May 19, 2005 to the parties listed.

 

 

Debra L. Fessenden

SHELBY COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/lemphis7 TN 38103

Arthur E. Horne

HORNE GILLULY & WELLS, PLLC
81 Monroe Ave.

Ste. 400

1\/lemphis7 TN 38103

Robert L. Hutton
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/lemphis7 TN 38103

Adam F. Glankler
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/lemphis7 TN 38103

Brian L. Kuhn

SHELBY COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/lemphis7 TN 38103

Kathleen Spruill

COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/lemphis7 TN 38103

Case 2:96-cv-02520-.]Pl\/l Document 830 Filed 05/18/05 Page 10 of 10 PagelD 1058

Financial Unit
FINANCIAL UNIT
167 N. Main St.
Room 242
1\/lemphis7 TN 38103

Murray B. Wells

HORNE GILLULY & WELLS, PLLC
81 Monroe Ave.

Ste. 400

1\/lemphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

